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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                          )
IN RE PHARMACEUTICAL INDUSTRY
                                                          )   MDL NO. 1456
AVERAGE WHOLESALE PRICE
                                                          )   Civil Action No. 01-12257-PBS
LITIGATION
                                                          )   Subcategory Case No. 03-10643
                                                          )
THIS DOCUMENT RELATES TO:
                                                          )   Judge Patti B. Saris
                                                          )
     The City of New York, et al.
                                                          )   Magistrate Judge Bowler
v.                                                        )
     Abbott Laboratories, et al.                          )
                                                          )

 DECLARATION OF JOANNE M. CICALA IN SUPPORT OF PLAINTIFFS’ REPLY
MEMORANDUM IN FURTHER SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
          DISCOVERY FROM DEFENDANT MERCK & CO., INC.

         I, the undersigned Joanne M. Cicala, submit this Declaration. I have personal knowledge

of the following facts:

     1. I am a partner at Kirby McInerney LLP and counsel for the City of New York and all

New York Counties in MDL 1456, except Nassau and Orange.

     2. Attached as Exhibit A is a true and correct copy of excerpts from the transcript of the

Deposition of McKesson Corporation’s 30(b)(6) Witness (Leslie Kay Morgan) dated September

3, 2008.      This transcript has been designated as “Highly Confidential” by McKesson

Corporation.

     3. Attached as Exhibit B is a true and correct copy of excerpts from the transcript of the

Deposition of Cardinal Health, Inc.’s 30(b)(6) Witness (Neil Warren) dated September 9, 2008.

This transcript has been designated as “Highly Confidential” by Cardinal Health, Inc.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.
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Dated: October 23, 2009                      /s/ Joanne M. Cicala___
                                             Joann M. Cicala




                                 CERTIFICATE OF SERVICE

        I, Kathryn B. Allen, hereby certify that I caused a true and correct copy of the foregoing

to be served on counsel of record via electronic service pursuant to paragraph 11 of Case

Management Order No. 2, by sending a copy to LexisNexis File and Serve for posting and

notification to all parties.

Dated: October 23, 2009

                                                    ________/s/ ___
                                                    Kathryn B. Allen
                                                    Kirby McInerney LLP
                                                    825 Third Avenue, 16th Floor
                                                    New York, NY 10022
                                                    (212) 371-6600
